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AQ (Rey. 5/85) Criminal Complaint

= FILEDIN-OPEN-COURT
UNITED STATES DISTRICT COURT 70. (4. J

MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE DIVISION CLERK, U.S. DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE, FLORIDA
UNITED STATES OF AMERICA CRIMINAL COMPLAINT

= Case Number: 3:16-mj- ]24S-M&&
ANDREW RYAN LESLIE

|, the undersigned complainant, being duly sworn, state the following is true and correct to the
best of my knowledge and belief. On or about October 14, 2016, in the Middle District of Florida,
ANDREW RYAN LESLIE did employ, use, persuade, induce, entice, and coerce at least two minor
children to engage in sexually explicit conduct for the purpose of producing visual depictions of such
conduct, which visual depictions were produced using materials that have been mailed, shipped or
transported in or affecting interstate or foreign commerce by any means, in violation of Title 18, United
States Code, Section 2251(a).

| further state that | am a Special Agent with Homeland Security Investigations, an agency of the
United States Department of Homeland Security, and that this Complaint is based on the following facts:

SEE ATTACHED AFFIDAVIT

Continued on the attached sheet and made a part hereof: ® Yes oONo

Signature oa

JAMES C. GREENMUN, Special Agent

Homeland Security Investigations
Sworn to before me and subscribed in my presence,

October L ¢ 2016 at Jacksonville, Florida

 

MONTE C. RICHARDSON

United States Magistrate Judge
Name & Title of Judicial Officer

 

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AFFIDAVIT
|, James C. Greenmun, being duly sworn, hereby state as follows:

INTRODUCTION

1. | am a Special Agent (“SA”) with the Homeland Security
Investigations (HSI), an agency of the United States Department of Homeland
Security (“DHS”). | have been so employed since March 2003, when HSI and
Immigration and Customs Enforcement (“ICE”) was created during the
organization of DHS. | am presently assigned to the Assistant Special Agent in
Charge (“ASAC”) Field Office of HSI in Jacksonville, Florida. Prior to being a
Special Agent with HSI/ICE, | was a Special Agent with the United States
Customs Service ("USCS") for approximately 1 year and 2 months.

2. My experience as an HSI agent and a USCS agent has included
the investigation of cases involving the use of computers and the Internet to
commit violations of federal law involving child exploitation, including the
production, transportation, receipt, distribution and possession of child
pornography. | have received training from the USCS and have gained
experience in interviewing and interrogation techniques, arrest procedures,
search warrant applications and the execution of searches and seizures involving
computer crimes. | have investigated and assisted in the investigation of criminal
matters involving the sexual exploitation of children which constituted violations
of Title 18, United States Code, Sections 2251, 2252 and 2252A, as well as

Florida state statutes which criminalize the possession, receipt and transmission
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of child pornography, that is, visual images depicting minors engaged in sexually
explicit conduct.

3. | am also a Computer Forensic Agent (“CFA”) with HSI and have
been working in that capacity since June 2005. | have received extensive
training and education in the field of computer evidence recovery. | hold a
Master's Degree in Digital Forensics from the University of Central Florida (UCF).
Other training includes the Treasury Computer Forensic Training Program
(‘TCFTP”) and the International Association of Computer Investigative
Specialists ("IACIS”), among others. | have conducted numerous computer
forensic examinations for ICE as well as for various other federal, state and local
law enforcement agencies.

4. Prior to joining the USCS, | obtained a Bachelor of Arts degree in
Criminology from the University of South Florida in Tampa, Florida.

5. | am responsible for investigating violations of U.S. Customs laws
and other federal laws, including the offenses of advertising, production,
transportation, receipt, distribution, and possession of child pornography (as
defined in Title 18, United States Code Section 2256) in interstate or foreign
commerce by any means, including by computer.

6. | The statements contained in this affidavit are based on my personal
knowledge as well as on information provided to me by other law enforcement
officers. This affidavit is being submitted for the limited purpose of establishing
probable cause for the filing of a criminal complaint, and | have not included each

and every fact known to me concerning this investigation. | have set forth only
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the facts that | believe are necessary to establish probable cause to believe that
ANDREW RYAN LESLIE has committed a violation of Title 18, United States
Code, Sections 2251(a), that is, production of child pornography.

7. The statements contained within this affidavit are based on my
training and experience and my personal observation, as well as the training and
experience of and information communicated to me by other law enforcement
personnel with whom I have personally spoken.

8. This affidavit is made in support of a complaint against ANDREW
RYAN LESLIE, that is, on or about October 14, 2016, in the Middle District of
Florida, ANDREW RYAN LESLIE did employ, use, persuade, induce, entice, and
coerce at least two minor children to engage in sexually explicit conduct for the
purpose of producing visual depictions of such conduct, which visual depictions
were produced using materials that have been mailed, shipped or transported in
or affecting interstate or foreign commerce by any means, in violation of Title 18,
United States Code, Section 2251(a).

9. On October 17, 2016, | applied for and obtained a federal search
warrant for the residence of ANDREW RYAN LESLIE, which this investigation
revealed to be located at 3244 Deer Creek Drive, Middleburg, Florida 32068.
This search warrant was issued by United States Magistrate Judge Monte C.
Richardson for fruits, instrumentalities, and evidence of violations of Title 18,
United States Code, Sections 2251, 2252, and 2252A. This search warrant was
based upon a child exploitation investigation that | have personally participated in

along with other HSI agents and other law enforcement officers. During this
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investigation, ANDREW RYAN LESLIE was identified as a subject of this
investigation.

10. On October 18, 2016, |, together with other HSI agents and
personnel and law enforcement officers, executed this federal search warrant at
the residence located at 3244 Deer Creek Drive, Middleburg, Florida 32068.
LESLIE was present at the residence.

11. Your affiant was informed by SA Ryan McEnany that upon entry
into the residence, LESLIE emerged from the master bedroom and indicated in
substance that a minor female child, referred to by LESLIE as a “toddler,” had
been in the bed with LESLIE in the master bedroom.

12. During the execution of the search warrant, your affiant observed
LESLIE and noticed that LESLIE eC goeeiaTienbiaaiemimapiarrt ei polish on his
fingernails.

13. | During the execution of the search warrant, SA Pete Manning and
Computer Forensic Agent (CFA) Sam Padilla conducted a computer forensic
preview of some of the computer media discovered within the residence. SA
Manning and CFA Padilla advised me that Clay County Sheriff's Office Detective
Ryan Ellis located, on a nightstand located next to LESLIE’s bed in the master
bedroom, a Canon PC1737 Powershot A3400 IS digital camera bearing serial
number 432061019849 and the marking “Made in China.” Contained within the
camera was an SD adapter and a micro SD card. This micro SD card was a
Toshiba 8GB HC Micro SD bearing serial number 1403RP4801P with the

markings, “Taiwan.” Based on my training and experience, | have probable
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cause to believe that this camera and this SD card were shipped and transported
in or affecting interstate and foreign commerce. During the computer forensics
preview of these media items, SA Manning and CFA Padilla discovered a series
of pornographic images depicting at least two minor female children contained
therein. Your affiant has reviewed these images. In several images, your affiant
observed the same prepubescent minor female child (approximately 2 years of
age), who was observed in the bed of LESLIE, as well as another infant female
child. These images depicted, among other things, this older female minor
engaged in sexually explicit conduct, including being penetrated by an adult
male's penis and engaging in fellatio with an adult male’s penis. There were also
images depicting the lascivious exhibition of the infant female child’s genitalia. In
several images, an adult hand is pictured gripping the adult penis as it touches
the genitalia of one of the minor female children, and also touching the pubic

area of one of the minor children. The thumb of the adult's left hand is shown to

have nail polish on the thumbnail ottressamenemipmtsat-yedrPettiesatbersenred-of
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{WSeHenaletinatday. Based on my training and experience, and my

observations of LESLIE's polished nails, | have probable cause to believe that
the adult participating in sexually explicit conduct with these two minor children is
LESLIE. | also observed, based on the image file properties data, that of all the
images on the Toshiba SD card (42 in total), 41 of these, including those
discussed above that depicted the minors engaged in sexually explicit conduct,

were produced and/or created on October 14, 2016.
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14. Based upon the foregoing facts, | have probable cause to believe
that on or about October 14, 2016, in the Middle District of Florida, ANDREW
RYAN LESLIE did employ, use, persuade, induce, entice, and coerce at least
two minor children to engage in sexually explicit conduct for the purpose of
producing visual depictions of such conduct, which visual depictions were
produced using materials that have been mailed, shipped or transported in or
affecting interstate or foreign commerce by any means, in violation of Title 18,

United States Code, Section 2251(a),

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JAMES GC. GREENMUN, Special Agent
Homeland Security Investigations

 

Subs pe and sworn to before me this
/ % day of October, 2016, at Jacksonville, Florida.

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MONTE C,RICHARDSON
United States Magistrate Judge

  
 
